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7                                    UNITED STATES DISTRICT COURT
8                                   CENTRAL DISTRICT OF CALIFORNIA
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10    TERRY FABRICANT, et al., individually        )    Case No. CV 20-0645 FMO (AGRx)
      and on behalf of all others similarly        )
11    situated,                                    )
                                                   )    ORDER DISMISSING ACTION
12                          Plaintiffs,            )
                                                   )
13                  v.                             )
                                                   )
14    INNOVATIVE MARKETING                         )
      ENTERPRISES, INC.,                           )
15                                                 )
                            Defendant.             )
16                                                 )
                                                   )
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18           The complaint in the above-captioned case contains individual and class allegations.
19    Plaintiffs have filed a notice of voluntary dismissal pursuant to Rule 41 of the Federal Rules of Civil
20    Procedure, seeking to dismiss the individual claims and the class claims without prejudice. (See
21    Dkt. 21, Notice of Voluntary Dismissal).
22           Having reviewed the case file and determined that no prejudice to the putative class will
23    result from the dismissal, IT IS ORDERED that the above-captioned action is hereby dismissed
24    without prejudice.
25    Dated this 8th day of June, 2020.                                /s/
                                                                      Fernando M. Olguin
26                                                               United States District Judge
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